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A0 91 (Rev. 08/09) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                    forthe
                                                       Western District of Texas                                 -

                                                                                                                        4t,/o..
                  United States of America
                               V.
                Salvador MIRABEL Jr.                                         Case No.
              Amanda Guadalupe GARCIA


                          Defendant(s)
                                                                             3J-6q3TC R)
                                                       CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best        of my knowledge and belief.
On or about the date(s) of                 September 25, 2019                in the county   of            Hudspeth               in the
     Western          District of              Texas            ,   the defendant(s) violated:

            Code Section                                                      Offense Description
Title 8 U.S.0 § 1324 (a)(1)(A)(v)(l),           knowingly, intentionally, and unlawfully conspired, combined, confederated,
(a)(l )(A)(ii) and (a)(1 )(B)(i)                and agreed together, and with others known and unknown, to commit
                                                offenses against the United States, namely: knowing and in reckless
                                                disregard of the fact that an alien has come to, entered, and remained in the
                                                United States in violation of law, did transport, move, and attempt to transport
                                                and move such alien within the United States by means of transportation and
                                                otherwise, in furtherance of said violation of law.



         This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT




             Continued on the attached sheet.




                                                                                                  Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state:
                  09/26/2019
                                                                             JiJ's                          signature

                                         El Paso, Texas                               Miguel Torres- U.S. Magistrate Judge
                                                                                               Printed name and title
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                                         AFFIDAVIT

 On September 25, 2019, at approximately 2:00 am, United States Border Patrol (USBP) Agent
Florencio Bermudez was conducting line watch operations in Ailamore, Texas; which is located
west of Van Horn, Texas and situated in Hudspeth County in the Western District of Texas,
when he witnessed a white semi-tractor flashing its hazard lights while parked on the eastbound
lane of Interstate-i 0 (1-10) by mile marker 131. The area where the semi was parked is a
common pick-up location for alien and narcotic smuggling activities and based off previous
work experience, BPA Bermudez knew flashing the hazard lights is a tactic used as a signal for
individuals who may be hiding in the surrounding brush. BPA Bermudez positioned his
government issued vehicle in a way that allowed him to monitor the semi-tractor which appeared
to be having mechanical issues.

At approximately 2:15 am, BPA Bermudez observed a white Ford Expedition which had been
traveling westbound on 1-10, get off at the Allamore exit and began driving eastbound on 1-10
until it came to a stop next to the semi-tractor. BPA Bermudez drove past both parked vehicles
and repositioned his vehicle a half mile ahead of the other two vehicles. Approximately five
minutes later, the Ford Expedition began driving eastbound of 1-10 and passed BPA Bermudez.
BPA Bermudez began following the Ford Expedition and found it odd the vehicle drove past the
town of Van Horn, Texas and did not stop to seek any type of vehicle assistance. BPA Bermudez
requested a registration check on the Texas license plate and was advised the vehicle was
registered to an individual in El Paso, Texas. BPA Bermudez began to suspect a smuggling
venture was taking place since the vehicle had originally been traveling westbound towards El
Paso, turned around at the Allamore exit, stopped by the semi-tractor, then continued driving
eastbound past the nearest town. BPA Bermudez decided to initiate a traffic stop.

The Ford Expedition came to a stop by mile marker 142 east of Van Horn, Texas. BPA
Bermudez approached the front passenger side of the vehicle, identified himself as a USBP
Agent and questioned the passenger, later identified as Amanda Guadalupe GARCIA (GARCIA)
as to her citizenship. GARCIA stated she was a United States Citizen (USC). BPA Bermudez
asked the driver, later identified as Salvador MIRABAL Jr. (MIRABAL) his citizenship, to
which he replied USC. BPA Bermudez saw additional passengers in the rear seats and asked
MIRABAL if all the passengers in the vehicle were USCs, to which MIRABAL replied "I don't
know". BPA Bermudez then questioned the two adult passengers in the rear, and they admitted
they and their two-year old daughter were citizens of Guatemala who did not have any
documentation allowing them to be or remain in the United States legally. BPA Bermudez asked
MIRABAL if he personally knew the Illegal Aliens (lAs) and MIRABEL said he did not know
them but was asked to pick them up from the driver of a semi-tractor which had broken down.
MIRABEL then stated to BPA Bermudez that he had "messed up real bad". At this point, BPA
Bermudez placed MIRABAL and GARCIA under arrest and verbally advised them of their
Miranda Rights. Both MIRABAL and GARCIA acknowledged they understood their rights.
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MIRABAL, GARCIA, the three Guatemalan citizens and two children belonging to the front
passengers were transported to the USBP Van Horn Station for processing.

BPA Agents then traveled to mile marker 131 where they encountered the driver of the semi-
tractor, listed here by his initials J.A.B. The driver informed the Agents he was a USC and
claimed no knowledge of any lAs. When confronted with what had transpired earlier, J.A.B.
admitted to seeing the aliens exit his semi-tractor and enter the Ford Expedition but denied
knowing they were in his vehicle to begin with. J.A.B. was placed under arrest for suspicion of
alien smuggling and was verbally advised of his Miranda Rights, to which he acknowledged he
understood. He was transported to the USBP Van Horn Station.

At the station, USBP Lead Intel Agent George Talavera once again advised J.A.B. of his
Miranda Rights both verbally and in writing. J.A.B. invoked his right to an attorney.

Agent Talavera once again advised MIRABAL of his Miranda Rights both verbally and in
writing. He acknowledged his rights and agreed to make a statement without the presence of an
attorney. MIRABAL said he quit his job as a truck driver and needed money. A friend of his
contacted him and asked him to transport a group of [As to Dallas, Texas. MIRABAL told his
friend he did not have access to a truck but knew someone who did. MIRABAL contacted J.A.B.
and offered him $1,500 USD to transport the lAs to Midland, Texas in his semi-tractor, to which
J.A.B. agreed. M1IRABAL said he picked up the lAs in the northeast side of El Paso and traveled
with his family to a truck stop where he turned over the lAs to J.A.B. The family then continued
traveling eastbound towards Midland, Texas where he was going to drop off GARCIA and their
children with a family member who resided there. J.A.B. was going to contact MIRABAL once
he arrived in Midland and MIRABAL would then deliver the lAs to someone in Dallas.
MIRABAL admitted he had smuggled lAs twice before using a semi-tractor trailer. He said
GARCIA was aware he had done it in the past and did not condone his behavior. MIRABAL
stated GARCIA did not want the lAs in their vehicle but once the truck broke down, he felt he
had no choice and had to go back and pick them up. MIRABAL said GARCIA had nothing to do
with the alien smuggling scheme and took full responsibility.

Homeland Security Investigation (HSI) Special Agents (SA) Deborah Rivero responded to the
USBP Van Horn Station to investigate of the smuggling event.

At approximately 9:50 am, a custodial interview of Amanda Guadalupe GARCIA was initiated.
In the recorded interview SA Rivero presented GARCIA with her Miranda Rights in the English
language. GARCIA acknowledged both verbally and in writing that she understood her rights
and agreed to make a voluntary statement without the presence of an attorney.

During the recorded interview GARCIA stated the following:
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 On September 24, 2019, at approximately 10:00 pm, MIRABAL arrived at their home to pick
her and the kids up and was surprised to see people in the car. They had already made plans to
have MIRABAL drop her and their kids off in Midland so she could visit her mother. She
admitted they did not have a healthy relationship and MIRABAL often did whatever he wanted.
He had told her he was going to drop off the people with J.A.B. She said she did not personally
know J.A.B. but knew he and MIRABAL had been employed at the same trucking company in
the past. J.A.B. was going to meet him in Midland and then MIRABAL was going to drive the
group to another location which she claimed not to know. After they left their home, they met
with J.A.B. at the McDonalds located by 1-10 and the Horizon exit in El Paso. The lAs exited
their vehicle and they continued driving to Midland. They had already passed the checkpoint
when MIRABAL received a phone call and he suddenly turned around. He did not tell her what
was happening and when they arrived at the semi-tractor, the people got out of semi-tractor and
entered their vehicle. She said she did not want them in the car with their kids, but he would not
listen to her. When the USBP stopped the vehicle, the kids became hysterical and began crying.
GARCIA admitted she knew he had smuggled people twice in the past when he needed money.
He had just quit his job the week before but did not know how much money he was going to be
paid.

At approximately 10:23 am, SA Rivero attempted to conduct a custodial interview of
MIRABAL. He informed SA Rivero he did not want to speak to anyone.

M.M.S. was one of the illegal aliens apprehended in this event. M.M.S admitted he, his wife, and
daughter had an upcoming immigration court date under the Migrant Protection Protocols
(MPP). M.M.S. said while waiting in Mexico, they became desperate due to his wife's
pregnancy and contracted an alien smuggler in Mexico to smuggle them into the United States
M.M.S. said the family entered the United States on September 20, 2019 and were taken to a
stash house where they remained for four days. The night before their arrest, MIRABAL and
GARCIA arrived at the stash house with their children and transported them to a gas station
where they then got into the semi-tractor being driven by J.A.B. The family hid in the sleeper
area of the semi-tractor as they crossed the checkpoint. The vehicle stalled and MIRABAL and
GARCIA returned in the same vehicle to pick them up.

SA Rivero re-interviewed GARCIA and asked her if she picked up the lAs at the stash house.
GARCIA admitted she and her children were in the car.

Not wanting to separate the family due to the female's medical condition, the lAs were not
retained as material witnesses. They were released back to USBP custody.

I make this affidavit on the basis of my personal knowledge, as well as the basis of information
furnished to me by other law enforcement officers. Because this affidavit is being submitted for
the limited purpose of establishing probable cause as set forth herein, I have not included each
and every fact known to me concerning this investigation.
